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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


SUSAN MARTINEZ,

               Plaintiff,

v.                                                            CIV No. 12-1227 CLH/LFG

ENHANCED RECOVERY
COMPANY, LLC,

               Defendant.
                                               ORDER

       THIS MATTER comes before the Court on Plaintiff’s Motion for Clerk’s Entry of Default

(Docket No. 4). In this motion, Plaintiff argues that Defendant failed to timely file an answer to her

complaint, which was filed with the Court on November 28, 2012. The day after this motion was

filed, Plaintiff’s counsel was notified by Court Clerk Staff that this motion was defective due to

failure to file a Praecipe with the Court. Before Plaintiff’s counsel corrected this problem with the

motion, Defendant filed an Answer to the Complaint (Docket No. 6). Most recently, on March 29,

2013, Plaintiff filed an Amended Complaint. No Answer to this Complaint has yet been filed.

       In light of this procedural history, the Court determines that Plaintiff’s Motion for Clerk’s

Entry of Default (Docket No. 4) is denied as being moot.

       IT IS SO ORDERED.



                                               _________________________________________
                                               SENIOR UNITED STATES DISTRICT JUDGE
